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                                            Exhibit B

                                  Interim Application Summary

                     Cover Sheet of Fee Application (UST Guidelines Exhibit E)




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                               SUMMARY OF SECOND INTERIM APPLICATION

    Name of Applicant                                                                                White & Case LLP
    Name of Client                                                                                    Lordstown Motors
                                                                                                             Corp. et al.
    Time period covered by Application                                                                October 1, 2023 –
                                                                                                     December 31, 2023
    Total compensation sought during the Application Period                                               $3,336,354.00
    Total expenses sought during the Application Period                                                       $8,408.06
    Petition Date                                                                                         June 27, 2023
    Retention Date                                                                                              Effective
                                                                                                          June 27, 2023
    Date of order approving employment                                                                     July 25, 2023
    Total compensation approved by interim order to date                                                  $5,533,760.00
    Total expenses approved by interim order to date                                                          $9,066.87
    Total allowed compensation paid to date                                                               $5,533,760.00
    Total allowed expenses paid to date                                                                       $9,066.87
    Blended rate in the Application for all attorneys                                                             $1,363
    Blended rate in the Application for all timekeepers                                                           $1,359
                                                                                                                                 1
    Compensation sought in the Application already paid pursuant to a monthly                             $2,669,083.20
    compensation order but not yet allowed
                                                                                                                                 1
    Expenses sought in the Application already paid pursuant to a monthly                                       $8,408.06
    compensation order but not yet allowed
    Number of timekeepers included in the Application                                                                   18
    If applicable, number of timekeepers in the Application not included in                                            N/A
    staffing plan approved by client
    If applicable, difference between fees budgeted and compensation sought                          Amount Budgeted:
    during the Application Period                                                                       $3.9 million –
                                                                                                          $4.8 million
                                                                                                      Amount Sought:
                                                                                                        $3,336,354.00
    Number of timekeepers billing fewer than 15 hours to the case during the                                         3
    Application Period
    Are any rates higher than those approved or disclosed at retention? If yes,                                          No
    calculate and disclose the total compensation sought in this Application
    using the rates originally disclosed in the retention application.




1      Although the objection period for the Sixth Monthly Fee Application under the Interim Compensation Procedures has not yet
       passed, these figures assume that no objection will be raised with respect to same and thus includes 80% of the fees and 100%
       of the expenses from the Sixth Monthly Fee Application.


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